                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                                    Case No.: 1:20-cv-00997


  SYLVESTER ALLEN, JR. et al.,                )
                                              )
                     Plaintiffs,              )
                                              )
               v.                             )
                                              )
  CITY OF GRAHAM, et al.,                     )
                                              )   DEFENDANTS TERRY JOHNSON
                      Defendants.             )   AND CLIFF PARKER’S MOTION
                                              )      FOR JUDGMENT ON THE
                                              )           PLEADINGS
  GREGORY DRUMWRIGHT, et al.,                 )
                                              )   (DRUMWRIGHT V. JOHNSON 1:20-
                      Plaintiffs,             )            CV-00998)
                                              )
                v.                            )
                                              )
  TERRY JOHNSON, individually and             )
  in his official capacity as Alamance        )
  County Sheriff, et al.,                     )
                                              )
                       Defendants.            )


      NOW COME Defendants Terry Johnson, individually and in his official capacity as

Alamance County Sheriff and Cliff Parker, individually and in his official capacity as

Alamance County Chief Deputy Sheriff (hereinafter “Defendants”), by and through the

undersigned counsel, and pursuant to Rules 12 (b) and (c) of the Federal Rules of Civil

Procedure and Local Civil Rule 7.2, hereby file their Motion for Judgment on the

Pleadings. The Defendants’ motion should be granted because the pleadings of record,


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including Plaintiff’s Complaint and the Defendants’ Answer establish that no material issue

of fact exists and the Defendants are entitled to judgement as a matter of law.

       WHEREFORE, the Defendants respectfully request that the Defendants’ Motion for

Judgment on the Pleadings be granted for the reasons set out in the accompanying

Memorandum of Law in Support of the Motion for Judgment on the Pleadings.

       This the 2nd day of March, 2021.

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                                   CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day filed the foregoing Defendants
Terry Johnson and Cliff Parker’s Motion for Judgment on the Pleadings with the Clerk
of Court using the CM/ECF system, which will send electronic notification of such filing
to the following:
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       This the 2nd day of March, 2021.

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